                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN
                               MILWAUKEE DIVISION



DONALD J. TRUMP, Candidate for President of the
United States of America,

             Plaintiff,

      v.


THE WISCONSIN ELECTIONS COMMISSION, and its
members, ANN S. JACOBS, MARK L. THOMSEN,
MARGE BOSTELMANN, DEAN KNUDSON,
ROBERT F. SPINDELL, JR., in their official capacities,
SCOTT MCDONELL in his official capacity as the Dane
County Clerk, GEORGE L. CHRISTENSON in his
official capacity as the Milwaukee County Clerk,
JULIETTA HENRY in her official capacity as the            Case No. 20CV1785
Milwaukee Election Director, CLAIRE WOODALL-
VOGG in her official capacity as the Executive Director
of the Milwaukee Election Commission, MAYOR TOM
BARRETT, JIM OWCZARSKI, MAYOR SATYA
RHODES-CONWAY, MARIBETH WITZEL-BEHL,
MAYOR CORY MASON, TARA COOLIDGE, MAYOR
JOHN ANTARAMIAN, MATT KRAUTER, MAYOR
ERIC GENRICH, KRIS TESKE, in their official
capacities; DOUGLAS J. LA FOLLETTE, Wisconsin
Secretary of State, in his official capacity, and TONY
EVERS, Governor of Wisconsin, in his official capacity.

             Defendants.




  DEFENDANT GOVERNOR EVERS’S MOTION TO RECOVER ATTORNEY FEES
                         AND COSTS




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       Four weeks after Wisconsin’s presidential election, Plaintiff Donald J. Trump and his

attorneys filed a meritless lawsuit asking for unprecedented relief: to overturn the will of nearly

3.3 million voters by declaring the election void and “remanding” the case to Wisconsin’s

Legislature. Trump demanded an expedited schedule and virtually immediate resolution of his

motion for irrevocable injunctive relief. In a little over a week, Defendants had filed and fully

briefed a motion to dismiss, as well as their opposition to Trump’s injunction motion, stipulated

to facts for a merits hearing, held oral argument, and this Court issued a thorough opinion

dismissing the case. Trump then filed an appeal with the U.S. Court of Appeals for the Seventh

Circuit. Two days later, Wisconsin’s Supreme Court dispatched Trump’s parallel state-court

claims that were substantially similar to the federal claims. Nonetheless, Trump continued with

his meritless appeal, where the issues were fully briefed within a week. On December 24, 2020,

the Seventh Circuit upheld this Court’s decision both on the merits and under the doctrine of

laches. Despite Trump’s state-court loss precluding his claims, and Wisconsin’s presidential

electors officially casting their votes for Joe Biden, Trump filed a motion for certiorari review in

the U.S. Supreme Court.

       Although Trump’s claims were bereft of legal or factual basis, the stakes were immense.

Governor Tony Evers had no choice but to defend zealously against the claims and to engage

with Trump’s scattershot litigation tactics. This litigation imposed significant costs on the

taxpayers of Wisconsin. Those costs were needless, because Trump’s suit never had any merit,

this litigation was precluded by exclusive state-court proceedings, and the costs were

exacerbated by strategic choices made by Trump and his lawyers.

       Accordingly, Governor Evers respectfully moves this Court to tax his attorney fees and

costs—approximately $144,000 to date—against both Trump and his attorneys. The Court can


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and should take these actions using both statutory authority and the Court’s inherent power to

sanction attorneys for engaging in bad-faith litigation. See 28 U.S.C. § 1927; Roadway Exp., Inc.

v. Piper, 447 U.S. 752, 766 (1980).1

        The grounds for this Motion, as well as the details of the fees and costs sought are set

forth in the supporting briefs and declarations that have also been filed with this Court.

        Respectfully submitted this 31st day of March, 2021.

                                                     /s/ Jeffrey A. Mandell
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                                                     Attorneys for Defendant,
                                                     Governor Tony Evers




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  Had there been sufficient time, Governor Evers would likely have also pursued sanctions under Federal Rule of
Civil Procedure 11. However, Rule 11’s safe-harbor provision requires that the party moving for sanctions first
notify the opposing party and allow 21 days for potential withdrawal or correction before filing a motion for
sanctions with the court. Here, Plaintiff filed his claim on December 2 and the Court issued an order dismissing the
case on December 12. Thus, the case moved too quickly for Governor Evers to comply with Rule 11’s safe-harbor
requirement, but it cannot be true that demanding an expeditious process can shield Trump and his attorneys from
appropriate consequences for their egregious conduct of this litigation.
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